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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  THE HOMESOURCE, CORP.,
                                                            Case No.: 1:18-cv-11970-ECR-AMD
                          Plaintiff,

          vs.

  RETAILER WEB SERVICES, LLC, et al.,

                          Defendants.


                   LOCAL CIVIL RULE 7.1.1 DISCLOSURE STATEMENT

        Pursuant to Local Civil Rule 7.1.1, Plaintiff The HomeSource, Corp. (“HomeSource”), by

 and through its undersigned counsel, states that it is not aware of any person or entity that is not a

 party and is providing funding on behalf of HomeSource for some or all of the attorneys’ fees and

 expenses for the litigation on a non-recourse basis in exchange for (1) a contingent financial

 interest based upon the results of the litigation or (2) a non-monetary result that is not in the nature

 of a personal or bank loan, or insurance.

                                               Respectfully submitted,

                                               FLASTER/GREENBERG PC

  Dated: August 2, 2021                        /s/ Matthew A. Goldstein
                                               Arthur R. Armstrong, Esquire
                                               Matthew A. Goldstein, Esquire
                                               Eric R. Clendening, Esquire
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                                   CERTIFICATE OF SERVICE

        I, Matthew A. Goldstein, hereby certify that on August 2, 2021, I electronically filed the

 foregoing Local Civil Rule 7.1.1 Disclosure Statement via the Court’s CM/ECF system, which

 will send notification of such filing to the attorneys of record in this case.


                                               FLASTER/GREENBERG PC

  Dated: August 2, 2021                        /s/ Matthew A. Goldstein
                                               Arthur R. Armstrong, Esquire
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